








				













In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-08-00511-CR

____________


CHARLES EUGENE HORN, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 182nd District Court 

Harris County, Texas

Trial Court Cause No. 1149889






MEMORANDUM  OPINION

	We lack jurisdiction to hear this appeal.  Appellant, Charles Eugene Horn,
pleaded guilty to the offense of possession of a controlled substance, and, in
accordance with his plea bargain agreement with the State, the trial court sentenced
appellant to confinement for three years.  Along with the plea, appellant, appellant's
counsel, and the State signed a stipulation of evidence which included, among others,
the following statements: "I intend to enter a plea of guilty and understand that the
prosecutor will recommend that my punishment should be set three years TDC and 
I agree to that recommendation...Further, I waive my right of appeal which I may
have should the court accept the foregoing plea bargain agreement between myself
and the prosecutor."  The trial court's judgment is stamped, "Appeal waived.  No
permission to appeal granted."  

	 After the trial court sentenced appellant to punishment that fell within the
terms of the plea bargain agreement, the trial court certified that this case is a plea-
bargain case and the defendant has no right to appeal.  Appellant did not request the
trial court's permission to appeal any pre-trial matters, and the trial court did  not give 
permission for appellant to appeal.   Appellant filed a timely  pro se notice of appeal. 
This appeal followed.

	We conclude that the certification of the right of appeal filed by the trial
court is supported by the record and that appellant has no right of appeal due to the
agreed plea bargain.  Tex. R. App. P. 25.2(a).  Because appellant has no right of
appeal, we  must dismiss this appeal "without further action." Chavez v. State, 183
S.W.3d 675, 680 (Tex. Crim. App. 2006).

	

	Accordingly, the appeal in Trial Court Cause Number 1149889 is
dismissed for lack of jurisdiction.

	Any pending motions are denied as moot.

PER CURIAM


Panel consists of Nuchia, Alcala, and Hanks.

Do not publish. Tex. R. App. P. 47.2(b).


